                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

    JOHN DOE, individually and on behalf
    of all others similarly situated,                Case No.

                    Plaintiff,
                                                     JURY TRIAL DEMANDED
             v.
                                                     CLASS ACTION
    NORTH STATE AVIATION, LLC


                    Defendant.



                                 CLASS ACTION COMPLAINT

        Plaintiff John Doe,1 individually and on behalf of all others similarly situated,

alleges as follows:

                                 PRELIMINARY STATEMENT

        1.         This case arises out of North State Aviation, LLC’s (“North

State Aviation” or “Defendant”) failure to provide its workers with the 60-

day advance notification required under the federal Worker Adjustment and

Retraining Notification Act (the “WARN Act”), codified at 29 U.S.C. § 2101

et seq.



1
 Plaintiff is utilizing a pseudonym in this litigation to protect his privacy. He was recently laid
off by Defendant and is currently searching for employment in the aviation industry in the same
geographic area.
                                                 1



        Case 1:17-cv-00346-CCE-LPA Document 1 Filed 04/12/17 Page 1 of 14
     2.        On March 22, 2017, Defendant terminated the employment of 345

employees at its plant in Winston-Salem, North Carolina (the “Facility”). In

violation of the WARN Act, Defendant provided Plaintiff and the putative

Class less than 24 hours’ notice that their employment was being terminated.

     3.        Through this action, Plaintiff and other similarly situated

employees of Defendant seek recovery of damages in the amount of sixty (60)

days’ pay and benefits under the WARN Act, as well as civil penalties as set

forth below.

                                  THE PARTIES

     4.        Plaintiff is a former employee who worked at Defendant’s Facility.

Plaintiff’s employment was terminated, along with approximately 345 other

employees on March 22, 2017.

     5.        Defendant North State Aviation, LLC is a North Carolina limited

liability company with its principal place of business at 4001 N. Liberty Street,

Winston Salem, North Carolina.

                          JURISDICTION AND VENUE

     6.        This Court has federal question subject matter jurisdiction pursuant

to 28 U.S.C. § 1331, as this case is being brought under the WARN Act, 29 U.S.C.

§ 2101 et seq.

     7.        Venue is proper in this District because the Facility where Plaintiff
                                           2



     Case 1:17-cv-00346-CCE-LPA Document 1 Filed 04/12/17 Page 2 of 14
and the putative Class were employed is located in this District, and a substantial

part of the events giving rise to Plaintiff’s claims occurred in this District.

                          FACTUAL BACKGROUND

      8.     Plaintiff began working for Defendant in April 2013.

      9.     On March 22, 2017, Plaintiff was informed his employment was

being terminated by Defendant along with 344 of his colleagues.

     10.     Also on March 22, 2017, Defendant filed a “WARN Notice” with the

North Carolina Department of Commerce and indicated the effective date of the

terminations was March 22, 2017.2

     11.     At the time of termination, Plaintiff’s job title was aircraft inspector

and Plaintiff was paid an hourly wage of $21.50. Plaintiff worked approximately

40 hours a week, and was paid overtime wages for all hours worked in excess of

40 hours a week at one and a half his hourly rate. Along with his wages, Plaintiff

received dental insurance, vision insurance, a 401(k) plan, short-term disability

insurance, long-term disability insurance, life insurance, and vacation pay.

     12.     Defendant also offers health insurance to its employees.

     13.     Around approximately 2:00 p.m. on March 22, 2017, Plaintiff and

other workers were called into a meeting with Defendant’s management team. At


2
 See https://www.nccommerce.com/Portals/11/Documents/Reports/WARN/warn.pdf (last
visited Apr. 12, 2017).
                                            3



      Case 1:17-cv-00346-CCE-LPA Document 1 Filed 04/12/17 Page 3 of 14
this time, Plaintiff was informed that Defendant was permanently ceasing

operations and shutting down its plant, resulting in the loss of employment for 345

people. A small group of individuals were employed for an additional week in

order to wrap operations, but Plaintiff was not included in this group.

     14.     Gary Smith, the CEO of North State Aviation, stated that North State

Aviation had encountered an “unforeseeable significant downturn in business”

that caused the closing.

     15.     Upon information and belief, and information received by members

of the putative class, Defendant still had weeks’ worth of aircraft to work on from

United Airlines and from Swift Airlines. The decision to close the Facility was

only made after Defendant approached United Airlines seeking additional

contracts but was turned down.

     16.     At no time prior to the meeting with Defendant’s management was

Plaintiff or other putative Class members advised by Defendant that their

employment was being terminated.

     17.     Plaintiff’s employment, wages, and benefits were terminated

effective March 22, 2017. Plaintiff was not given a severance package upon the

termination of his employment.

     18.     Plaintiff was informed he would not be paid any additional wages

other than those for days he had worked prior to, and including, March 22, 2017.
                                          4



      Case 1:17-cv-00346-CCE-LPA Document 1 Filed 04/12/17 Page 4 of 14
                       CLASS ACTION ALLEGATIONS

     19.     Plaintiff brings his claims under Rules 23(a), (b)(1), (b)(2) and (b)(3)

of the Federal Rules of Civil Procedure and the WARN Act under 29 U.S.C. §

2104(a)(5), individually and on behalf of the following Classes:

             All persons employed at Defendant’s Facility whose
             employment was involuntarily terminated on or about March
             22, 2017 without receiving sixty (60) days’ written notice
             before the date of termination of employment.

     20.     Excluded from the above Class is: (1) any entity in which Defendant

has a controlling interest; (2) officers or directors of Defendant; (3) this Court and

any of its employees assigned to work on the case; and (4) all employees of the

law firms representing Plaintiff and the Class.

     21.     Numerosity (Federal Rule of Civil Procedure 23(a)(2)) – The

members of the Class are so numerous that a joinder of all members would be

impracticable. While the exact number of the members of the Class is presently

unknown to Plaintiff, and can only be determined through appropriate discovery,

Plaintiff believes that the Class is equal to or over 345 members.

     22.     Upon information and belief, Defendant has databases, and/or other

documentation identifying those employees whose employment was terminated

on or about March 22, 2017 as part of the mass layoff.            Further, the Class

definition identifies unnamed plaintiffs by describing a set of common

                                           5



      Case 1:17-cv-00346-CCE-LPA Document 1 Filed 04/12/17 Page 5 of 14
characteristics sufficient to allow a member of that group to identify him or herself

as having a right to recover. Other than by direct notice by mail or email,

alternatively proper and sufficient notice of this action may be provided to the

Class members through notice published in newspapers or other publications.

     23.     Commonality (Federal Rule of Civil Procedure 23(a)(2)) – This

action involves common questions of law and fact. These common questions of

law and fact take precedence over those questions that may only affect individual

Class members. The questions of law and fact common to both Plaintiff and the

Class members predominate over any individualized issues, and include, but are

not limited to, the following:

             a.     Whether Defendant was an employer under the WARN Act;

             b.     Whether all Class members were employees under the WARN

      Act;

             c.     Whether all Class members’ employment location is a covered

      facility under the WARN Act;

             e.     Whether Defendant gave at least sixty (60) days advance written

      notice to the Class members, as required by the WARN Act; and

             f.     Whether Defendant failed to pay the Class members wages and

      to provide other employee benefits for the 60-day period following their

      terminations.
                                           6



      Case 1:17-cv-00346-CCE-LPA Document 1 Filed 04/12/17 Page 6 of 14
     24.      Typicality (Federal Rule of Civil Procedure 23(a)(3)) – Plaintiff’s

claims are typical of all of the members of the Class. The evidence and the legal

theories regarding Defendant’s alleged wrongful conduct are substantially the

same for Plaintiff and all of the Class members, as Plaintiff was an employee at

Defendant’s Facility and Plaintiff’s employment was terminated without proper

notice on or about March 22, 2017.

     25.      Adequacy (Federal Rule of Civil Procedure 23(a)(4)) – Plaintiff

will fairly and adequately protect the interests of the Class members. Plaintiff has

retained competent counsel experienced in class action litigation to ensure such

protection.    There are no material conflicts between the claims of the

representative Plaintiff and the members of the Class that would make class

certification inappropriate. Plaintiff and his counsel intend to prosecute this action

vigorously.

     26.      Predominance and Superiority (Federal Rule of Civil Procedure

23(b)(3)) –The common questions of law or fact identified herein and to be

identified through discovery predominate over questions that may affect only

individual Class members. Further, the class action is superior to all other

available methods for the fair and efficient adjudication of matter. Because the

injuries suffered by the individual Class members may be relatively small, the

expense and burden of individual litigation would make it virtually impossible for
                                           7



      Case 1:17-cv-00346-CCE-LPA Document 1 Filed 04/12/17 Page 7 of 14
Plaintiff and Class members to individually seek redress for Defendant’s wrongful

conduct. Even if any individual person or group(s) of Class members could afford

individual litigation, it would be unduly burdensome to the courts in which the

individual litigation would proceed. The class action device is preferable to

individual litigation because it provides the benefits of unitary adjudication,

economies of scale, and comprehensive adjudication by a single court. In contrast,

the prosecution of separate actions by individual Class members would create a

risk of inconsistent or varying adjudications with respect to individual Class

members that would establish incompatible standards of conduct for the party (or

parties) opposing the Class and would lead to repetitious trials of the numerous

common questions of fact and law. Plaintiff knows of no difficulty that will be

encountered in the management of this litigation that would preclude its

maintenance as a class action. As a result, a class action is superior to other

available methods for the fair and efficient adjudication of this controversy.

Absent a class action, Plaintiff and the Class members will continue to suffer

losses, thereby, allowing these violations of law to proceed without remedy and

allowing Defendant to retain the proceeds of their ill-gotten gains.

     27.     Plaintiff contemplates the eventual issuance of notice to the proposed

Class members setting forth the subject and nature of the instant action. Upon

information and belief, Defendant’s own business records and electronic media
                                          8



      Case 1:17-cv-00346-CCE-LPA Document 1 Filed 04/12/17 Page 8 of 14
can be utilized for the contemplated notices. To the extent that any further notices

may be required, Plaintiff would contemplate the use of additional media and/or

mailings.

     28.     The matter is properly maintained as a class action pursuant to Rule

23(b) of the Federal Rules of Civil Procedure, in that:

             a.      Without class certification and determination of declaratory,

      injunctive, statutory and other legal questions within the class format,

      prosecution of separate actions by individual members of the Class will create

      the risk of:

                     1)    Inconsistent or varying adjudications with respect to

             individual members of the Class which would establish incompatible

             standards of conduct for the parties opposing the Class; or

                     2)    Adjudication with respect to individual members of the

             Class which would as a practical matter be dispositive of the interests

             of the other members not parties to the adjudication or substantially

             impair or impede their ability to protect their interests;

             b.      The parties opposing the Class have acted or refused to act on

      grounds generally applicable to each member of the Class, thereby making

      appropriate final injunctive or corresponding declaratory relief with respect to

      the Class as a whole; or
                                           9



      Case 1:17-cv-00346-CCE-LPA Document 1 Filed 04/12/17 Page 9 of 14
              c.     Common questions of law and fact exist as to the members of the

      Class and predominate over any questions affecting only individual members,

      and a Class Action is superior to other available methods of the fair and

      efficient adjudication of the controversy, including consideration of:

                     1)    The interests of the members of the Class in individually

              controlling the prosecution or defense of separate actions;

                     2)    The extent and nature of any litigation concerning

              controversy already commenced by or against members of the Class;

                     3)    The desirability or undesirability of concentrating the

              litigation of the claims in the particular forum; and

                     4)    The difficulties likely to be encountered in the

              management of a class action.

                           FIRST CLAIM FOR RELIEF

                   VIOLATION OF THE FEDERAL WARN ACT

    29.       Plaintiff incorporates by reference the allegations in the preceding

paragraphs.

    30.       At all times material herein, Plaintiff, and similarly situated persons,

have been entitled to the rights, protections, and benefits provided under the

Federal WARN Act, 29 U.S.C. § 2101 et. seq.

    31.       Plaintiff and members of the Class are “affected employees” of
                                           10



     Case 1:17-cv-00346-CCE-LPA Document 1 Filed 04/12/17 Page 10 of 14
Defendant within the meaning of 29 U.S.C. §2101(a)(5).

     32.     Defendant was an “employer” as that term is defined in 29 U.S.C. §

210l(a)(l) and 20 C.F.R. § 639.3(a) and continues to operate as a business.

     33.     On March 22, 2017, Defendant engaged in a “mass layoff” at the

Facility, as that term is defined in 29 U.S.C. § 2101(a)(3).

     34.     The mass layoff at the Facility resulted in “employment losses,” as

that term is defined by 29 U.S.C. § 2101(a)(3), for at least 50 employees

constituting at least of 33% of the employees at the Facility.

     35.     Plaintiff and each of the other members of the Class had their

employment terminated without cause.

     36.     Defendant failed to give Plaintiff and other members of the Class

written notice that complied with the requirements of the Federal WARN Act.

     37.     Plaintiff and each of the other Class members are “aggrieved

employees” of Defendant, as that term is defined in 29 U.S.C. §2104(a)(7).

     38.     Defendant failed to pay Plaintiff and each of the Class members their

respective wages, salary, commissions, bonuses, accrued holiday pay, accrued

retirement benefits, and accrued vacation pay for 60 days following notice of their

terminations.

     39.     Plaintiff and the Class have been injured as a result of Defendant’s

WARN Act violations.
                                          11



     Case 1:17-cv-00346-CCE-LPA Document 1 Filed 04/12/17 Page 11 of 14
     40.      As a result of Defendant’s violations of the Federal WARN Act,

Plaintiff and the Class are entitled to back pay for each day of Defendant’s

violations at a rate of compensation not less than the higher of the average regular

rate received by each employee during the last 3 years of the employee’s

employment, or the final regular rate received by such employee, up to a maximum

of 60 days.

     41.      Plaintiff and the Class are also entitled to all benefits under any

employee benefit plan described in 29 U.S.C. § 1002(3), including the cost of

medical expenses incurred during the employment loss which would have been

covered under an employee benefit plan if the employment loss had not occurred,

up to a maximum of 60 days.

     42.      Defendant is also liable to Plaintiff for reasonable attorneys’ fees

under 29 U.S.C. § 2104(a)(6).

                                PRAYER FOR RELIEF

      WHEREFORE, Plaintiff, individually and on behalf of members of the Class,

request the following relief:

      1.      For an order certifying this action as a class action under Federal Rule

of Civil Procedure 23;

      2.      For an order determining that Defendant violated the WARN Act;

      3.      For an award of damages for unpaid compensation and owed Plaintiff
                                          12



     Case 1:17-cv-00346-CCE-LPA Document 1 Filed 04/12/17 Page 12 of 14
and Class members pursuant to the WARN Act;

      5.    For reasonable attorney’s fees and costs pursuant to 29 U.S.C. §

2104(a)(6) and/or other applicable law; and

      6.    For such other and further relief, in law or equity, as this Court may

deem appropriate and just.



                         DEMAND FOR JURY TRIAL

      Plaintiff hereby requests trial by jury of all issues triable by jury pursuant to

Federal Rule of Civil Procedure 38.

Dated: April 12, 2017                         Respectfully submitted,

                                              /s/ Jean Sutton Martin
                                              Jean Sutton Martin
                                              North Carolina Bar Number 25703
                                              LAW OFFICE OF JEAN SUTTON
                                              MARTIN PLLC
                                              2018 Eastwood Road Suite 225
                                              Wilmington, NC 28403
                                              Telephone: (910) 292-6676
                                              Facsimile: (888) 316-3489
                                              Email: jean@jsmlawoffice.com




                                         13



     Case 1:17-cv-00346-CCE-LPA Document 1 Filed 04/12/17 Page 13 of 14
                                     Joseph G. Sauder*
                                     Matthew D. Schelkopf*
                                     MCCUNE WRIGHT AREVALO
                                     LLP
                                     555 Lancaster Avenue
                                     Berwyn, Pennsylvania 19312
                                     Telephone: (610) 200-0580
                                     jgs@mccunewright.com
                                     mds@mccunewright.com
                                     * Admission application forthcoming

                                     Attorneys for Plaintiff and the Class




                                14



Case 1:17-cv-00346-CCE-LPA Document 1 Filed 04/12/17 Page 14 of 14
